Case 1:17-Cr-10321-ADB Document 1 Filed 08/17/17 Page 1 of 1

AO 91 [Rcv. ll{ll) Crimina.l Gomplaint

 

UNITED STATES DISTRICT CoURT

for thc

Distriot of Massachusetts

 

United States of Amcrica )
v. ) _ l__ _ l
Kevin Fraga and A|ex Fraga § Case NO‘ l :l1 " md " MYO
)
)
________ __ _____ )
Defendam(s)
CR[MINAL COMPLAINT
I, the complainant in this case, state that the following is true to thc best of my knowledge and belief.
On or about the date(s) of August 16-1?_'_!__2_01? _ _ in the goum;y Of Barnstab|e in the
District of Massacir_l_.i_set_ts _ , the defendant(e) violated:
Coa'e Sectfon _ O,)j?znse Descriptz`on
21 USC Sections 841(a)(1) and 841 Possession'of fentany|, heroin and cocaine, Schedu|e | and l| controlled
(b)(1)(C) substancesl with the intent to distribute
21 USC Bection 846 Attempted possession of fentany|, heroin and cocaine, Schedu|e | and ||

controlled substances with the intent to distribute

This criminal complaint is based on these facts:

See attached affidavit of DEA TFO Nlarc Powe||

lif Continued on the attached Shcct.

    

 

(.‘omp afnan£ ’s signature

/Ylwc B)_w<»,l_l crm

Prnzind name and title

    

Swom to before me and signed in my prcscnco.

Date: Q_LQ_&M \-\ ‘ ;)O\_\ ‘ _ z
ss and ss ©O&_m. im l y " d §\_W;L

 

